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                             IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                               MDL NO. 2179
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on April 20, 2010                             SECTION: J

                                                              JUDGE BARBIER

                                                              MAGISTRATE JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:
11-263

              DEFENDANT DRIL-QUIP, INC.’S MEMORANDUM OF LAW
                    IN SUPPORT OF ITS MOTION TO DISMISS
                        FOR FAILURE TO STATE A CLAIM

                                            SUMMARY

       This lawsuit arises out of an oil spill that occurred while the Deepwater Horizon, a

mobile drilling unit owned and operated by Transocean Ltd., was drilling the Macondo well for

BP, P.L.C., the lessee. Dril-Quip, Inc. (“Dril-Quip”) manufactured the subsea wellhead and

certain related equipment (the “Subsea Wellhead System”) used on the Macondo well and

provided a service technician onboard the Deepwater Horizon to assist with the installation of

the Subsea Wellhead System.

       Plaintiff’s Original Complaint (the “Complaint”) makes only one allegation specifically

against Dril-Quip, and that claim is stated in conclusory terms, accompanied by no facts

supporting the claim. The Court should dismiss the Complaint against Dril-Quip under Federal

Rule 12(b)(6) because the Complaint fails to plead any facts against Dril-Quip and thus fails to

satisfy the standard set forth in Ashcroft v. Iqbal, 556 U.S. __, 129 S. Ct. 1937, 1949 (2009) and

Bell Atlantic. Corp. v. Twombly, 550 U.S. 544, 570, (2007).           Even if Plaintiff’s pleading

insufficiencies are overlooked, Plaintiff fails as a matter of law to state a claim for negligence or

gross negligence under the general maritime law against Dril-Quip because his own allegations
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conclusively establish that Dril-Quip owed no legal duty to Plaintiff. These insufficiencies

mandate dismissal of all of Plaintiff’s claims against Dril-Quip under Rule 12(b)(6).

         In the alternative, Dril-Quip moves for a more definite statement under Rule 12(e).


                                              BACKGROUND

         Dril-Quip manufactured the Subsea Wellhead System used on the Macondo well, which

was located off the coast of Louisiana. 1 Dril-Quip manufactured the Subsea Wellhead System in

Texas. 2 Dril-Quip is not alleged to have had any other role on the Deepwater Horizon. 3

                                     ARGUMENT AND AUTHORITIES

    I.         The Complaint Fails to State a Claim Against Dril-Quip

               a. The Complaint Fails to Allege Facts Sufficient to Establish Any Cause of
                  Action 4

         To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain “more than

an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. __,

129 S. Ct. 1937, 1949 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, (2007)).

The “complaint must contain sufficient factual material, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Iqbal, 129 S. Ct. at 1949 (citing Twombly, 550 U.S. at 570));

Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007); see also Sinaltrainal v. Coca-Cola Co.,

578 F.3d 1252, 1261 (11th Cir. 2009)(allegations must push claim past “conceivable” to

“plausible”). These “[f]actual allegations must be enough to raise a right to relief above the

         1
             Complaint at ¶¶24-25.
         2
             Id.at ¶19.
         3
         Id.; Complaint at ¶¶35, 116. Paragraphs 26 & 30 state conclusions intended to suggest liability,
causation, and damages, but they do not set forth any additional particulars that identify acts of Dril-Quip.
         4
         Plaintiff’s action was filed in a Texas district court and removed to federal court. While it is not
necessary for Plaintiff to replead unless the federal court orders it to do so, the petition/complaint must
meet federal pleading standards. See, e.g,, Broadway v. Brewer, 2009 WL 1445449, *5 (S.D. Tex., May
21, 2009).
                                                     2
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speculative level, on the assumption that all the allegations in the complaint are true (even if

doubtful in fact).” Twombly, 550 U.S. at 555-56, quoted in In re Great Lakes Dredge & Dock

Co. LLC, 624 F.3d 201, 210 (5th Cir. 2010). “We do not accept as true conclusory allegations,

unwarranted factual inferences, or legal conclusions.” Gentilello v. Rege, ___ F.3d ___, 2010

WL 4868151, *2 (Dec. 1, 2010)(quoting Plotkin v. IP Axess, Inc., 407 F.3d 690, 696 (5th Cir.

20050)).      “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. at *4. See also Great Lakes, 624 F.3d at 210 (quoting

Iqbal to effect that “legal conclusions can provide the complaint’s framework, [but] must be

supported by factual allegations”); Jacobs v. Tempur-Pedic Int’l, Inc., 626 F.3d 127, 1333 (11th

Cir. 2010)(quoting Iqbal, 556 U.S. at ___, 129 S.Ct. at 1949). Under the standard set forth in

Twombly, a complaint must plead “enough fact[s] to raise a reasonable expectation” that a

plaintiff has a right to relief. See 550 U.S. at 557.

       The Complaint pleads no facts tending to show liability, causation or damage that

implicate Dril-Quip.         Indeed, the Complaint only mentions Dril-Quip five times: in the

preamble; 5 in the “parties” section; 6 and three times as a product defect defendant. 7         The

majority of the Complaint’s allegations related to the Defendants are directed at “Defendants.” 8

In other paragraphs, the Complaint alleges that specific Defendants committed certain acts but

never alleges that Dril-Quip committed any specific act. Other than these collective allegations,

the Complaint does not allege a single fact that would tend to show that Dril-Quip did anything

or failed to do anything that led to Plaintiff’s alleged injuries. In Count VII, Plaintiff alleges, in
       5
           Complaint, unnumbered paragraph at p. 1.
       6
           Id. at ¶19.
       7
           Id. at ¶¶29-30.
       8
           Id. at ¶¶21, 26-28, 31, 33-37, 40 and 42.

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conclusory fashion, some of the elements of strict liability for manufacturer’s defects and generic

evidentiary allegations of the type that sometimes supports them. 9

       Allegations that lump multiple defendants together without specifying which defendant

did what do not satisfy federal pleading standards. Cruz v. Cinram Int’l, Inc., 574 F. Supp. 2d

1277, 1233 (N.D. Alabama 2008); see also Kester v. Zimmer Holdings, Inc., No. 2:10-cv-00523

2010 WL 2696467, at *12 (W.D. Pa. June 16, 2010) (collectively referring to “Defendants”

insufficient under Twombly). The Eleventh Circuit has noted “[T]his court has addressed the

topic of shotgun pleadings on numerous occasions in the past, often at great length and always

with great dismay.” Strategic Income Fund, L.L.C. v. Spear, Leeds & Kellogg Corp., 305 F.3d

1293, 1296 n. 9 (11th Cir. 2002); see also Cook v. Randolph Cty., Ga., 573 F.3d 1143, 1151 (11th

Cir. 2009)(citing cases); Carvel v. Godley, No. 10-10766 2010 WL 4910167, *2 (11th Cir., Dec.

2, 2010). “The defining characteristic of a shotgun complaint is that it ‘fails to identify claims

with sufficient clarity to enable the defendant to frame a responsive pleading.’” Giscombe v.

ABN Amro Mortg. Group, Inc., 680 F.Supp. 2d 1378, 1380 (N.D. Ga. 2010)(quoting Beckwith v.

Bellsouth Telecomms., Inc., 146 Fed. Appx. 368, 371 (11th Cir. 2005)).

       This case is no different. Plaintiff’s “shotgun” complaint fails to plead any facts specific

to Dril-Quip. It is thus impossible to ascertain what Dril-Quip did or failed to do that caused

Plaintiff’s injuries. Specifically, the Complaint fails to allege any facts that would establish any

elements of Plaintiff’s causes of action; instead, only innocent facts 10 and legal elements 11 are set

forth. The “particulars” set forth in Paragraph 30 constitute a laundry list of ways a product may


       9
           Id. at ¶¶114-22.
       10
            E.g., “…Drill-Quip [sic] designed, manufactured [and] sold … the well head ….” Id. at ¶29.
       11
            E.g., “…Defendants’ respective products were unreasonably dangerous….” Id. at ¶31.


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be defective and are not sorted by manufacturer but are collectively alleged against all six

defendants listed in the paragraph. 12 As noted in Gentilello and Plotkin, supra at 3, such

makeweight assertions do not help to establish the plausibility of claims that Twombly and Iqbal

require. The Court should therefore dismiss the Complaint against Dril-Quip for failure to state a

claim.

                b. The Complaint Alleges Facts that Negate Liability For Negligence on the
                   Part of Dril-Quip.

         Further, the complaint contains no facts that, if true, would render Dril-Quip directly

liable for maritime negligence or gross negligence. As a matter of law, Dril-Quip did not owe

plaintiff any duty of care. “To establish maritime negligence, a plaintiff must ‘demonstrate that

there was a duty owed by the defendant to the plaintiff, breach of that duty, injury sustained by

[the] plaintiff, and a causal connection between the defendant’s conduct and the plaintiff’s

injury.’ ” Canal Barge Co. v. Torco Oil Co., 220 F.3d 370, 376 (5th Cir. 2000)(quoting In re

Cooper/T. Smith, 929 F.2d 1073, 1077 (5th Cir. 1991)).

         Plaintiff alleges no facts from which the Court could infer that Dril-Quip owed him any

legal duty because Plaintiff does not allege that Dril-Quip controlled or had any right to control

any of the operations of the Deepwater Horizon. It is fundamental that a duty to prevent harm

resulting from oil and gas operations arises as a consequence of control over the operations. See,

e.g., Ainsworth v. Shell Offshore, Inc., 829 F.2d 548, 550 (5th Cir. 1987), cert. denied, 485 U.S.

1034 (1988). Further, it is settled that where a principal retains an independent contractor to

conduct oil and gas operations but does not retain control over or participate in the actions of the

contractor, the principal neither assumes nor owes any duty to the contractor’s employees.

Thomas v. Burlington Res. Oil & Gas Co., No. Civ. A. 99-3904, 2000 WL 1528082, at *2 (E.D.


         12
              See id. at ¶30.

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La. Oct. 13, 2000) (Barbier, J.). Even when a principal without control over, or participation in,

the operation has actual knowledge of dangerous conditions on an oil rig, the principal has no

legal duty to intercede. See id.; Ronquille v. MMR Offshore Servs., Inc., 353 F. Supp. 2d 680,

682 (E.D. La. 2004) (the presence of a company representative on an oil platform with

knowledge of the rig’s operations “is insufficient to create a duty; therefore, the law does not

support the imposition of liability for any failure to intercede”).

        Ainsworth is instructive and is cited by courts applying both Louisiana law and the

general maritime law. See, e.g., Gremillion v. Gulf Coast Catering Co., No. 88-4544, 1989 WL

104100, at *6 (E.D. La. Sept. 5, 1989), aff’d, 904 F.2d 290 (5th Cir. 1990) (citing Ainsworth in

tort case under maritime law); Fontenot v. Southwestern Offshore Corp., 787 So.2d 588, 594 (La.

Ct. App. 2001) (tort case under maritime law).          In Ainsworth, Shell hired an independent

contractor, Hercules, to erect an offshore drilling rig. 829 F.2d at 549. Hercules worked its

crews around the clock, with no lights in the work area, and a worker fell as a result. Id. Shell

had a “company man” on the rig who was aware of the hazardous conditions, but Shell retained

no control over and did not participate in the operation of the rig. The Fifth Circuit rejected the

plaintiff’s argument that Shell’s knowledge of the danger made it directly liable for the injury

and held instead that because Shell lacked control over the operation, it had no duty to intervene.

Id. at 551.

        Plaintiff’s allegations fall far short of even the Ainsworth facts. Plaintiff pleads that “[the

Transocean entities] were owners and operators of the … Deepwater Horizon,” which was

“leased to BP, “ which was “the de facto charterer of the … vessel and directed activities on the

vessel.” Complaint at ¶¶23-24. By contrast, Dril-Quip “was involved with providing wellhead

systems.” Id. at ¶19. Furnishing equipment for use in a drilling project owned and operated by



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others cannot plausibly create a duty to someone else’s employee working onboard someone

else’s vessel. Cf. In re Graham Offshore, Inc., 287 F.3d 352, 359 (5th Cir. 2002) (no duty owed

by rig operator to transportation contractor hired by third party). The Complaint lacks any facts

alleging conduct by Dril-Quip in breach of any duty, or that Plaintiff’s injuries resulted from any

act by Dril-Quip. To the contrary, the express allegation that BP and Transocean owned the

lease and the rig, respectively, and made the operating decisions that led to the blowout and

explosion, see e.g., Complaint at ¶¶23-25, negates any inference that Dril-Quip conducted any of

the operations on the Deepwater Horizon that allegedly led to Plaintiff’s injuries and establishes

that Plaintiff is not entitled to relief. See Jones v. Bock, 549 U.S. 199, 215 (2007) (“if the

allegations, taken as true, show the plaintiff is not entitled to relief,” then the “complaint is

subject to dismissal”).

        If in Ainsworth a company man on the rig with actual knowledge of a dangerous situation

had no duty to intercede because he lacked control over the operations on the rig, it necessarily

follows that Dril-Quip had no duty to Plaintiff. It was hundreds of miles away from the rig,

lacked any contractual relationship with Plaintiff’s employers and is not alleged to have had any

actual knowledge of a dangerous situation. Because Plaintiff fails to state a claim for negligence

against Dril-Quip, Plaintiff also fails to state any claim against it for gross negligence. See

Complaint at ¶¶32-37.

II.     Alternatively, The Court Should Require Plaintiff to File a More Definite Statement
        Detailing the Facts, if Any, That Support Its Claims Against Dril-Quip

        In the alternative to dismissal, given the lack of specific allegations against Dril-Quip, the

Court should require Plaintiff to file a more definite statement of his pleading pursuant to Rule

12(e). The Complaint fails to allege clearly those acts of Dril-Quip which support any of

Plaintiff’s claims against Dril-Quip. Additionally, Plaintiff’s use of the collective term

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“Defendants” makes it impossible to ascertain which Defendant did what. The combination of

minimal facts and multiple theories against multiple defendants means that Dril-Quip and the

other Defendants cannot respond without risking waiver of defenses on the one hand or wasted

effort and inadvertent admissions on the other. The remedy for such indistinctness is a motion

under Rule 12(e), see, e.g., Beanal v. Freeport-McMoran, Inc., 197 F.3d 161, 164 (5th Cir. 1999),

and the ripple effect of imprecise pleading in the form of cost to both litigants and the court

system has been well-documented. See, e.g., Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d

955, 981-84 (11th Cir. 2008). Therefore, if it does not dismiss Plaintiff’s claims, the Court

should require him to file a more definite statement of his claims pursuant to Rule 12(e). At the

minimum, such statement should specify (a) the nature of his duties as an employee of

Transocean while aboard the Deepwater Horizon; (b) the circumstances and nature of his alleged

injury; and (c) a designation of claims urged and specification of the defendant(s) against which

they are urged, including a theory or theories of liability on the part of Dril-Quip, together with

the facts that support it/them.    Any less specificity would force Dril-Quip to conduct an

overbroad and burdensome investigation of Plaintiff’s claims, disserving the intent of the Federal

Rules of Civil Procedure to resolve disputes fairly, efficiently, and as inexpensively as possible.


                                             CONCLUSION

       Dril-Quip respectfully requests that the Court dismiss all Plaintiff’s claims against Dril-

Quip pursuant to Federal Rules of Civil Procedure 12(b)(6), or, in the alternative, require a more

definite statement pursuant to Rule 12(e).


Date: March 10, 2011




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                                                   Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that the above and foregoing Memorandum of Law in Support of Motion to
Dismiss will be served on all counsel by electronically uploading the same to LexisNexis File &
Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically filed
with the Clerk of Court of the United States District Court for the Eastern District of Louisiana
by using the CM/ECF System which will send a notice of electronic filing in accordance with the
procedures established in MDL 2179, on this 10th day of March, 2011.



                                                     /s/ C. Dennis Barrow, Jr.________________
                                                     C. Dennis Barrow, Jr.




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